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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 24-CR-20201-WILLIAMS

  UNITED STATES OF AMERICA,

        Plaintiffs,

  v.

  DAVID KNEZEVICH,

       Defendant.
  ______________________/

                                         ORDER

        THIS MATTER is before the Court on Defendant’s Expedited Motion for Order

  Temporarily Staying Government Review or Use of Seized Electronics (DE 133)

  (“Motion”). Based on a review of the Motion and the record, it is ORDERED AND

  ADJUDGED that Defendant’s Motion (DE 133) is DENIED except to the extent

  discussed at the hearing on January 15, 2025, with regard to establishing a filter team

  to segregate attorney-client and work-product materials.

        DONE AND ORDERED in Chambers in Miami, Florida, on this 23rd day

  of January, 2025.




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